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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   LYSTN, LLC d/b/a ANSWERS™ PET FOOD,                    :
        Plaintiff,                                        :       Civ. No. 19-cv-1943
                                                          :
          v.                                              :
                                                          :
   FOOD AND DRUG ADMINISTRATION, et al.,                  :
        Defendants.                                       :

          MOTION FOR RECONSIDERATION PURSUANT TO F.R.C.P. 59(e)


                                               Introduction

          AND NOW COMES Plaintiff, asking this Court to reconsider its Order and

   Determination(s) of January 16, 2020 (Doc. No. 121) that allegations of “final agency action” were

   conclusory1 in the face of an outlined detailed scheme, backed by supporting documentation that

   the Court failed to consider and denied leave to amend to include. Additionally, unbeknown to

   Plaintiff, on October 9, 2019 – the next day after Plaintiff filed its replies in opposition to

   Defendants various motions to dismiss, President Trump issued Executive Order 13891 --

   Promoting the Rule of Law Through Improved Agency Guidance (Exhibit B), and Executive Order

   13892- Promoting the Rule of Law Through Transparency and Fairness in Civil Administrative

   Enforcement and Adjudication (Exhibit C). The federal defendants herein plainly received notice



   1
     Plaintiff –vis-à-vis the Declaration of Joseph A. O’Keefe, introduced several documents –
   including state court deposition testimony, which palpably support each and every notice pled
   averment. With opportunity to amend, Plaintiff could easily plead said evidence specifically
   including, but not limited to, introduction of a plethora documents that are directly admissible into
   the record and/or at trial. See, Exhibit A hereto –Declaration of Joseph A. O’Keefe, incorporated
   herein as thought set for the in complete detail below. "A denial of leave to amend to repair a
   jurisdictional defect, even on futility grounds, does not call for a dismissal with prejudice . . . The
   district court extended the futility principle too far in this case by dismissing with prejudice for
   lack of standing, since it lacked jurisdiction to make a determination on the merits of the
   complaint." Brereton v. Bountiful City Corp., 434 F.3d 1213, 1219 (10th Cir. 2006).

                                                                                                        1
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   of the President’s Order and of its contents but failed to bring such to the attention of the Court or

   Plaintiff despite it affirming that which they specifically denied – the use of “non-binding”

   guidance policies to create shadow regulations that are, by any definition or test, final agency

   action.2

          Recognizing the EXACT form of shadow regulation Plaintiff has been the subject of – as

   outlined within its complaint and papers in opposition to Defendants’ various motions to dismiss,

   President Trump ordered executive agencies to comply with constitutional and statutory law

   relative to rule making, to afford consumers and industry equal access to judicial review of their

   purported “non-binding” policies that – using the federal purse, they enforce through various means

   such as the Animal Feed Regulatory Program at issue herein.

                                         Predicate Background

          On or about July 5, 2019, Plaintiff instituted this suit averring, in essence, that the Food

   and Drug Administration (“FDA”) was impermissibly circumventing Constitutional and statutory

   law through AAFCO and its several member states by enacting (and enforcing) shadow regulations

   therewith. AAFCO “partnered” with the FDA to develop the Animal Feed Regulatory Program

   Standards (“AFRPS”) program and has acted at the behest of the FDA to enforce the FDA’s

   purported non-binding guidance policy specifically through the AFRPS’ zero-tolerance policy in

   Colorado and nationwide. On January 16, 2020, this Court DISMISSED with prejudice Plaintiff’s

   Complaint on jurisdictional grounds because Plaintiff had not shown final agency action that

   would be subject to judicial review. Contrary to the Court’s decision, beginning in 2015




   2
       Contemporaneous and subsequent understandings of a statutory scheme (including
   understandings by President and Department of Justice) may sometimes be admissible to interpret
   a statute. See generally Hagen v. Utah, 114 S. Ct. 958, 969 (1994); Darby v. Cisneros, 113 S. Ct.
   2539, 2545-47 (1993)

                                                                                                       2
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   Defendants took enforcement actions against Plaintiff using food additive violations as the “cause”

   of distributing adulterated food and claiming Plaintiff was in violation of the FD&C Act because

   of not meeting the zero-tolerance policy that supposedly is non-binding.3

                                Identification of Final Agency Action

          AAFCO is the organization that serves as the FDA’s explicit “partner” in developing the

   AFRPS, and it is the AFRPS that forms the enterprise of conspiracy and the complaint tells this

   story adequately. While the Court – without leave to amend, has determined Plaintiff’s averments

   to be conclusory and not entitled to the presumption of truth, it fails to consider the numerous

   documents that Plaintiff has provided which demonstrate, unquestionably, their actual truth. 4

   Through various means, including providing significant block grants to AAFCO’s member states

   and requiring those states that receive that money under the AFRPS program to have state

   regulatory regimes that are “equivalent in effect" to the federal regulatory regime, the FDA

   controls AAFCO and uses this quasi-governmental organization to ensure it adopts the FDA’s

   guidance in their model laws, the FDA’s desired definitions, and to organize the enforcement of

   the shadow regulation scheme through the participating states. The FDA first began enforcement

   of AFRPS as against Plaintiff in 20155 after AAFCO’s member state answered the FDA’s call to

   pull and sample its products. (Exhibit A, Doc. No. C -G, 1D-X, 4A-E) As relevant herein, the

   State of Colorado, the Colorado Department of Agriculture (“CDA”) at the behest of the FDA and



   3
     Plaintiff points the Court to its detailed allegations of “shadow regulation” through the
   Association of American Feed Control Officials (“AAFCO”) within its complaint and opposition
   papers, as well as a trove of self-authenticating documents (Exhibit A) properly considered by the
   Court, and asks it to reconsider its determination.
   4
     The Court denied amendment and also discovery due to Plaintiff submitting over 2,600 pages of
   documentation. Plaintiff respectfully argues the Court should consider the evidence contained
   within these documents.
   5
     This 2015 matter remains open and all events subsequent (including the Colorado prosecution)
   flow therefrom and are part and parcel of it and the FDA’s AFRPS.

                                                                                                    3
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   pursuant to mandatory terms that came with large payments from the FDA, specifically targeted

   Plaintiff’s product for sampling as part of an FDA’s “quota” targeting natural pet food. (Exhibit

   A, Doc. No. F, G, H).    So too, Nebraska – specifically referencing AFRPS, pulled Plaintiff’s

   product for sampling. At the same time states -including Pennsylvania, which like Colorado has

   state personnel making decisions on AAFCO’s board, have similarly “worked cooperatively” to

   be “on the same page” specifically targeting Plaintiff and other natural pet food companies for

   enforcement under AFRPS and its standards that are required to be the “functional equivalent” of

   the FDA’s non-binding guidance policies. (Exhibit A, Doc. No. X, 1JJ, 4F, 6T, 6X)6

          AAFCO publicly touts that it is participating as a “partner” in the Federal process of

   bringing Colorado animal feed regulations and enforcement into being “equivalent in effect” to

   the Federal regulations. Its member states, including Colorado, receive large sums of money to

   enforce the Animal Feed Regulatory Program Standards. The testimony of the CDA’s Kristi

   McCallum was precise and plain. She explains that the FDA is their “customer” and all sampling,

   testing, and reporting is done according to the AFRPS’s terms, specifically terms that AAFCO

   touts it “partnered” with the FDA in developing and instituting. This is admitted by the FDA in

   their RFA-FD-19-021 where it says:

        “[i]n 2011, FDA and AAFCO entered into a partnership to develop the AFRPS . . .
       [with the] fundamental goal of AAFCO and FDA to provide a mechanism for
       developing and implementing uniform and equitable regulations, and standards to
       enhance the protection of the nation's animal food supply.”
   See, Exhibit N to the Declaration of Joseph A. O’Keefe -- RFA-FD-19-021.

   O’Keefe Dec. Exhibit C is MOU XXX-XX-XXXX. Contained therein, the FDA and AAFCO



   6
    See, Exhibit 6J – July 20, 2018 Phone Call Between CDA, PDA and CVM of the FDA;
   December 4, 2018 re: December 7, 2018 WebEx Meeting and Exhibit 6K – August 6, 2018 –
   FDA Sean Duke and Others, Size of Company; EIR from Lystn; Contract Manufacturer; Lystn’s
   Other Products; Lystn’s FEI #; PDA Accompanying FDA and Samplings.

                                                                                                  4
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   (which exists only through its participating member states – Colorado included7), outlines:

         “The purpose of AAFCO is to provide a mechanism for developing and
         implementing uniform and equitable laws, regulations, standards, definitions, and
         enforcement of policies for the manufacturing, labeling, and sale of animal feeds
         and ingredients. AAFCO provides ‘model laws’ and regulations that nearly all
         states have adopted as their basis for their feed-control program. It is governed by
         officers and a board of directors … elected by the membership at the annual meeting
         of AAFCO.”

   (O’Keefe Dec. Exhibit C, pgs. 8-9)

          In fact, AAFCO’s role in regulation of pet food and animal feed is so prevalent that for

   Fiscal Year 2017 alone its tax return shows (O’Keefe Dec. Exhibit R) – besides a net worth of

   $1,800,000.00, $139,000.00 in income from administering the FDA’s Animal Feed Regulatory

   Program ( see, O’Keefe Dec. Exhibit R (Supplemental Income O (“Feed Program”) block grants),

   see also Exhibit V (Pa. Taxpayers reimbursing for AAFCO related matters). The AFRPS program

   was developed by the FDA, through AAFCO and its participating member states – including

   Colorado.8 And in the FDA’s own words:

          “The AFRPS Cooperative Agreement will provide funding for State feed regulatory
          programs that maintain an FDA feed safety inspection contract to develop and
          implement the standards; develop and maintain best practices; enhance feed safety;
          and better direct their regulatory activities at reducing food borne illness …. In
          addition, this cooperative agreement will provide options of funding for
          laboratories that support animal feed programs ….”
   (See, Exhibit C, F, N, hereto, a true and correct copy of the FDA’s outline of the program obtained

   from AAFCO’s website - -a document which identifies Colorado – along with the other AAFCO

   member states, as one of 22 sharing over $11,000,000.00 worth of federal monies to enforce the

   Zero Tolerance Standard, see also, Exhibit B hereto – the FDA Fact Sheet for same). In fact,



   7
     For example, O’Keefe Dec. Exhibit M outlines AAFCO’s Board of Directors is made up of Feed
   Control Officers from its participating member states, including Hollis Glenn – Director of the
   Inspection and Consumer Services Division at CDA.
   8
     For example, the CDA’s Hollis Glenn serves as an AAFCO Director.

                                                                                                    5
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   AAFCO itself touts development and enforcement of the AFRPS as a “partnership” between it, its

   member states, and the FDA:

             In 2011, the FDA and [AAFCO] partnered to develop the [AFRPS]. The feed
             standards establish a uniform foundation for the design and management of states'
             programs responsible for the regulation of animal feed. Through implementing the
             feed standards, a state's program will be better able to achieve and maintain
             programmatic improvements that help ensure the safety and integrity of the U.S.
             animal feed supply. A state’s implementation of the feed standards also helps to
             insure a uniform and consistent approach to feed regulation among jurisdictions. The
             goal of the standards is to leverage resources and share common successes to build
             systems within state regulatory feed programs.

   (See, Exhibit 3J – AAFCO’s self-description of the subject program).

             And, labeling its zero-tolerance policy as “nonbinding guidance” has no effect on whether

   or not that guidance is Final Agency Action reviewable under the APA9. See Appalachian Power

   Co. v. EPA, 208 F.3d 1015, 1023 (D.C. Cir. 2000). “If an agency acts as if a document issued at

   headquarters is controlling in the field, if it treats the document in the same manner as it treats a

   legislative rule, if it bases enforcement actions on the policies or interpretations formulated in the

   document . . . then the agency's document is for all practical purposes binding.” Id. at 1021. In

   Bennett v. Spear, the United States Supreme Court summarized the finality standard in two prongs:

       i.    Under § 704 of the APA, does the action mark the end, or consummation of the
             agency's decision-making process?
       ii.Does the action determine the rights or obligations of the regulated or from which
          legal consequences will flow?
   Bennett v. Spear, 520 U.S. 154, 178 (1997). If both elements are satisfied, then there is Final

   Agency Action10. For example, these standards of consummation and obligation, when applied


   9
     Plaintiff notes that when the FDA published this “non-binding” policy, it did – in fact, send in
   comment and request for hearing, consideration which was, in fact, denied. On that basis alone
   the AFRPS is subject to judicial review as there is no other way to challenge its legality and defend
   against it.
   10
      Pursuant to Presidential Orders (Exhibits B and C hereto), Defendants -the FDA especially, are
   now required to correct material assertions to the Court by acknowledging the AFRPS as the Final
   Agency Action that it is, acceding to this Court’s review thereof.

                                                                                                       6
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   to the FDA’s 2016 Warning Letter issued to Plaintiff due to the 2015 sampling and testing by the

   CDA, illustrate that Warning letters can and should be interpreted to be final agency action. After

   5 years with no right to a hearing or any redress from the agency that issued the 2016 Warning

   Letter and after agency notice and publication to the American and International public, the

   Plaintiff’s rights have been denied and their name and product harmed. Harm from which legal

   consequences properly flow.11

                                             Consummation

          Warning Letters – like the one Plaintiff received in 2016 that kicked off all of this, are final

   action undertaken by the agency to induce compliance.          Indeed, in passing 21 U.S.C. § 336,

   Congress passed legislation that by its own language makes a written notice or warning an action

   sufficient for enforcement against certain violations.12 Courts that reason Warning Letters only

   seek to “enjoin a possible future FDA enforcement action” fail to recognize the operation of

   Warning Letters in the FDA’s overall enforcement scheme.13 While Warning Letters are not the

   “consummation” of the FDA’s formal enforcement action, they are the consummation of the

   decision to enact informal enforcement against a regulated party.14




   11
      Just this week Lystn had a meeting with a chain of nearly 200 stores that will not carry and sell
   its poultry products due to the 2016 Warning Letter. The retail store chain says ANSWERS™ has
   not taken corrective action per the warning letter and therefore even though this only addressed a
   specific lot 5 years ago in 2015, they refuse to sell Lystn’s poultry products because the Warning
   Letter remains on-line and this matter remains open.
   12
      See 21 U.S.C. § 336.
   13
      Cody Labs., Inc. v. Sebelius, No. 10-CV-00147-ABJ, 2010 U.S. Dist. LEXIS 80118, at *11 (D.
   Wyo. July 26, 2010); PROCEDURES MANUAL, supra note 13, ch. 4, at 4-2.
   14
      C.f., Gordon v. Norton, 322 F.3d 1213, 1220 (10th Cir. 2003) (holding that an action is not final
   because the agency was clear that it had not yet interpreted applicable rules and was still engaged
   in its decision-making process); RICHARD J. PIERCE, JR., 2 ADMINISTRATIVE LAW
   TREATISE 1320 (5th ed. 2010).

                                                                                                        7
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                                    Obligations and Lack of Rights

          In determining the obligation that an agency action has upon a regulated party, the Supreme

   Court has looked to the language used by agencies. In Bell v. New Jersey, the Court concluded

   that the Department of Education established deficiencies owed, the language used in establishing

   the deficiency, was sufficiently “definitive” to render the order final as defined by § 704 of the

   APA.15 In doing so, the Court adopted the “flexible” and “pragmatic” requirements of Abbott Labs

   v. Secretary of Health, Education and Welfare.16 From a formalistic perspective, an FDA Warning

   Letter imposes no binding legal obligations on the recipient.17 Parties are able to disregard the

   directives contained in a Warning Letter and challenge “any adverse FDA action in [a formal]

   enforcement hearing.”18 But, by ignoring Warning Letters, regulated parties risk “arous[ing] the

   ire of such a powerful agency [as the FDA],” in addition to the related hardships that accompany

   the receipt of a Warning Letter.19 Significant and consequential, if not legal, obligations are put

   upon those regulated parties that receive Warning Letters.20 Beyond risking the ire of the FDA,




   15
      Id.
   16
      Abbott Labs. v. Gardner, 387 U.S. 136 (1967); see also Bell, 461 U.S. at 779–80 (“Our cases
   have interpreted pragmatically the requirement of administrative finality . . . .”).
   17
      See, e.g., Wash. Legal Found. v. Kessler, 880 F. Supp. 26, 35 (D.D.C. 1995). Other courts have
   found, however, that where an agency issues a letter determining legally defined questions, that
   letter can constitute final agency action. W. Illinois Home Health Care, Inc. v. Herman, 150 F.3d
   659, 663 (7th Cir. 1998) (holding that a letter sent by an Assistant Agency District Director was
   final and reviewable because it interpreted the meaning of the term “joint employer” as defined in
   the Fair Labor Standards Act); PIERCE, supra note 134, at 1330.
   18
      Washington Legal Foundation, 880 F. Supp. at 36. In reality, approximately 93% of those who
   receive Warning Letters respond to the FDA. State Enforcement Regulation, supra note 8, at 2457.
   19
      Washington Legal Foundation, 880 F. Supp. at 36.
   20
      Even the FDA notes that Warning Letters are not to be taken lightly and expect that a majority
   of parties will in fact take corrective action upon receipt. Warning Letters Regulation, supra note
   8, at 27,026.

                                                                                                    8
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   regulated parties are vulnerable to lawsuits, loss of sales and investments, and sacrifice of

   contracting opportunities with the federal government.21

                                  Error Warranting Reconsideration

          The Court’s Order (Doc. No. 121) mistakenly references that “…while plaintiff claims

   that ‘the FDA enlisted the CDA to pull product from the shelves to be tested by [its] state

   laboratory and slandered the Plaintiff’s products,’ the example it gives of such action is conduct

   performed by the state of Nebraska, not the CDA or AAFCO.”          This all started with the FDA’s

   2016 Warning Letter based on Plaintiff’s product pulled off the shelf in Colorado in 2015.

   Thereafter it was a coordinated assault on Plaintiff and its products across several states including

   the subject 2018 CDA action. The Court further states that while plaintiff alleges that “[t}he FDA,

   through the CDA has chosen to prosecute Plaintiff,” Plaintiff failed to allege in its complaint any

   facts supporting its claim that the CDA’s state prosecution of plaintiff was at the behest of the

   FDA or was a condition to the CDA receiving federal funding. Plaintiff – absolutely, produced

   the very documents showing that the CDA matter was – unequivocally, pursuant to the AFRP,

   fully funded by the FDA, and as coordinated through AAFCO and its member states. See, i.e.

   Doc. No. 79-1 and O’Keefe Declaration attached hereto and incorporated herein as though set forth

   in complete detail below.




   21
      Plaintiff sufficiently exhausted all required and available adjudication processes with the FDA
   surrounding the outstanding 2016 Warning Letter matter before seeking judicial review. The
   Commissioner’s final decision to not provide a required Regulatory Hearing for a Statutory
   provision and/or Regulatory provision constitutes final agency action. Per Section 10.45 (d) Unless
   otherwise provided, the Commissioner’s final decision constitutes final agency action (reviewable
   in the courts under 5 U.S.C. 701 et seq. and, where appropriate, 28 U.S.C. 2201) … on a matter
   involving administrative action which is the subject of an opportunity for a hearing under 16.1 (b)
   of this Chapter.



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           Defendants failed to disclose that Plaintiff’s products were sampled, tested and alleged to

    have been adulterated with Salmonella in 2015 by the CDA under the directive of the June 3, 2015

    “CVM Issues Assignment to Collect Official Samples of Raw Foods for Dogs or Cats in Interstate

    Commerce in the United States and Analyze them for Salmonella, Listeria monocytogenes,

    Escherichia coli O157:H7 and Non O157:H7 Shiga Toxin-Producing Escherichia coli (STEC)”22.

    When Plaintiff exercised its rights and requested an Administrative Hearing in Colorado, the CDA

    declined granting the Plaintiff a hearing and referred the matter over to the FDA. The FDA states

    in the March 17, 2016 Warning Letter, “Because exposure to Salmonella spp. Can cause serious

    adverse health consequences or death to humans or animals, in July 2013, FDA issued a

    Compliance Policy Guide (CPG) addressing the presence of Salmonella in Food for Animals, CPG

    690.800. Therefore, the above products are adulterated within the meaning of section 402(a)(1)

    of the Federal Food, Drug and Cosmetic Act (the Act), 21 U.S.C. §342(a)(1).”

           At first the FDA wrongfully accused the Plaintiff of adulterating its food using eggs from

    Iowa, when in fact Plaintiff never purchased or used eggs from Iowa, the FDA then accused

    Plaintiff of food additive violations as contributing cause to the adulterated Salmonella finding23.

    The FDA then issued a national March 17, 2016 Warning Letter proclaiming the Plaintiff was in

    violation of food additive and labeling laws and distributing an adulterated product under the

    FD&C Act due to noncompliance with CPG 690.800.24 The FDA falsely claimed Plaintiff did not

    specify what corrective action, if any, Plaintiff intended or proposed to take regarding the products.



    22
       https://www.fda.gov/animal-veterinary/biological-chemical-and-physical-contaminants-animal-
    food/cvm-issues-assignment-collect-official-samples-raw-foods-dogs-or-cats-interstate-
    commerce-united. See also, O’Keefe Declaration Exhibit 1D September 3, 2015, Exhibit 1J,1K –
    September 4, 2015).
    23
        See O’Keefe Dec. Exhibit 2E – September 24, 2015 – Sean Duke Inconsistencies and Exhibit
    2F – September 25, 2015 – FDA Mixed up Samples and Confusion on Serotype)
    24
        See O’Keefe Dec. Exhibit 1Y March 17, 2016 FDA Warning Letter.

                                                                                                       10
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    Plaintiff responded to the Warning Letter with two April 5, 2016 letters to the FDA. The first

    provide multiple, detailed explanations of the requested and required corrective action steps taken

    and the second addressed the targeting of Plaintiff and the inconsistent, biased and deceptive

    actions by the FDA or at its behest against Plaintiff and its products.25 It wasn’t until a response

    was received under a FOIA request that FDA disclosed the Collection Reason and Sample Basis:

    “Surveillance” with FDA Sample Analysis Reports was to follow up positive Salmonella found in

    frozen raw dog food collected by the Colorado Department of Agriculture, Collecting District

    identified as DEN-DO.26

           Plaintiff formally requested, in writing, a formal Notice of Appeal which the FDA refused

    to grant a hearing.27 Plaintiff’s 2016 request for Appeal (with reference to the 2 April 5, 2016

    letters) stated all the same claims contained in its Complaint and was entitled to a hearing as of

    right under federal law. By issuing the Warning Letter and then ignoring the formal request for an

    Appeal and not granting the hearing to which Plaintiff was entitled, the FDA has left Plaintiff with

    no agency relief and no option to seek it which, by definition, constitutes Final Agency Action.28

    The 2018 sampling and testing of Plaintiff’s product again for the second time by the CDA is part

    of the 2015 ongoing open FDA investigation as referenced and communicated by the FDA in



    25
       Exhibit 2V – April 5, 2016 and April 21, 2016 - Lystn Keith Hill Response to March 17, 2016
    FDA WARNING LETTER (Letter 1 of 2) and Exhibit 2W – April 5, 2016 - Lystn Keith Hill
    Supplemental Letter to March 17, 2016 FDA WARNING LETTER (Letter 2 of 2) and Exhibit 2X
    – April 21, 2016 - Lystn Keith Hill E-mail Response to March 17, 2016 FDA WARNING
    LETTER; Lystn Keith Hill April 5, 2016 Letter
    26
       See O’Keefe Dec., Exhibit 1BB June 17, 2016 - FDA FOIA Request #2016-4464 Sample
    913964 email 1 of 2 and Exhibit 1BB - June 17, 2016 – FDA FOIA Request #2016-4464 Sample
    862407 email 2 of 2).
    27
       See O’Keefe Declaration Exhibit 2Y - May 17, 2016 - Lystn Keith Hill May 17, 2016 Letter
    Notice of Appeal in Response to FDA issued WARNING LETTER dated March 17, 2016.
    28
       What is important to understand is this matter is still open and the 2015 investigation was never
    closed by the FDA so they could use AAFCO and its member states to continue their biased,
    targeted and premediated regulatory case against Plaintiff and avoid disclosure under FOIA.

                                                                                                     11
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    discussions with the Plaintiff.29 The Nebraska reference used in Plaintiff’s filings was merely to

    demonstrate how another AAFCO state regulatory agency was following FDA’s instructions in

    testing Plaintiff’s products and intentionally making false misrepresentations to the public.30 In

    fact, Exhibit 1GG hereto – the FDA’s Evelyn Bonnin Response to Lystn Keith Hill December 11,

    2018 E-mail, plainly demonstrates the strong ties the FDA has to the several member states,

    Colorado especially.

                                        AFRP is Final Agency Action

               There is no reasonable argument that the FDA has not consummated the decision-making

    process on Salmonella with its guidance when AFRPS requires enforcement of that guidance by

    participating states. Whether or not such guidance is actually Final Agency Action depends on a

    “host of factors.” Id. at 39. But most important of these factors are the following three:

         i.    whether the agency has taken a definitive legal position regarding its statutory
               authority;
         ii.   whether the case presents a purely legal question of statutory interpretation; and
         iii. whether the action imposes an immediate and significant practical burden on the
              regulated entity.
    Id. (citing Philip Morris USA Inc. v. United States Food & Drug Administration, 202 F. Supp. 3d

    31, 46 (D.D.C. 2016) (internal punctuation omitted). President Trump’s Orders recognize this




    29
       See O’Keefe Declaration Exhibit 2CC - June 22, 2018 - Lystn Keith Hill E-mail to FDA Robin
    Rivers with Concerns and Questions Re: Inspections, Communications, Sampling and Testing,
    Requests for Records, etc. and Exhibit 2NN – January 9, 2019; Exhibit 1GG, 2HH.
    30
       See, O’Keefe Declaration Exhibit 4S – January 2, 2019 – Nebraska Data Packet for Salmonella
    Sample 2019CDM5011 – Positive.pdf; Chain of Custody for Salmonella 2019CDM5011.pdf);
    Exhibit 1JJ – January 14, 2019 – FDA Allison Hunter E-mail Re: FDA Eric Nelson Response and
    Web Post to Lystn Letter dated 01142018 Decision Not to Recall Nebraska Lot. The Nebraska
    Warning Letter also provides evidence that the FDA is knowingly and falsely lying to the public
    stating, “Federal law requires all pet food to be free of pathogens, including Salmonella.” ; Exhibit
    1KK – January 14, 2019 – FDA Warning Letter to Pet Owners Not to Feed One Lot of A+ Answers
    Straight Beef Formula for Dogs Due to Salmonella).

                                                                                                      12
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    well settled law and plainly and specifically call for an end to the charades AND the end of shadow

    regulatory programs such as the AFRPS.

           As for the first factor, the FDA has plainly required AFRPS participating states pass

    statutes and regulations “equivalent in effect” to its “non-binding” guidance policies, specifically

    its guidance on Salmonella. This means they have taken a definitive legal position that the FD&C

    Act creates a zero-tolerance standard for Salmonella in pet food.

           In Washington Legal Foundation v. Kessler, Washington Legal Foundation challenged a

    policy of the FDA limiting the dissemination of information regarding “off-label” uses for drugs

    and medical devices.31 In challenging the FDA policy, Washington Legal Foundation alleged that

    through Warning Letters and other informal agency communications the FDA established an

    official policy banning the distribution of information on “off-label” uses for drugs and medical

    devices.32 The FDA argued that the Warning Letters and policies issued did not constitute final

    agency action and thus were not ripe for review before the court.33 The court held that while the

    Warning Letters may be advisory, it would be unwise to “be blind to the practical effects of these

    letters and other statements.”34 The court held that “[o]nce the agency ‘publicly articulates an

    unequivocal position . . . and expects regulated entities to . . . conform to that position, the agency

    has voluntarily relinquished the benefit of postponed judicial review.’”35




    31
       Wash. Legal Found. v. Kessler, 880 F. Supp. 26, 27–28 (D.D.C. 1995). “Off-label” use of a
    drug occurs when a doctor prescribes a medication “in a manner different from that approved by
    the FDA.” Randall S. Stafford, Regulating Off-Label Drug Use — Rethinking the Role of the
    FDA, 358 NEW ENG. J. MED. 1427, 1427–29 (2008). Off-label prescriptions are common, but
    pharmaceutical companies may not promote their products for off-label use. Id.
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       Wash. Legal Found., 880 F. Supp. at 27–30
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       Id. at 34–35.
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       Id. at 35.
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       Id. (citing Ciba-Geigy Corp. v. EPA, 801 F.2d 430, 436 (D.C. Cir. 1986)) (first omission in
    original).

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           As for the second factor, the Salmonella guidance concerns a legal question of statutory

    interpretation. Can any amount of naturally occurring Salmonella render pet food adulterated

    when the statute requires proof that the quantity of Salmonella would ordinarily render the pet

    food injurious to health? The FD&C Act clearly states that naturally occurring Salmonella does

    not render food adulterated unless it is an additive substance or in quantity that ordinarily would

    render it injurious to health. Just like American Academy of Pediatrics where the FDA determined

    questions of law (that they did not have to regulate e-cigarettes when the law commanded they do

    so by a time certain), this case involves the FDA determining a legal question of statutory

    interpretation, that the FD&C Act allows for a zero-tolerance standard with no quantification

    necessary where the law actually requires quantification in every circumstance.

           As for the third factor, the Salmonella guidance burdens the Plaintiff directly because of

    how the FDA has engaged and continues to engage in this type of shadow regulation. The results

    of this “non-binding” policy are public health warnings issued by the FDA telling consumers that

    the Plaintiff’s pet food is adulterated and dangerous and a state-level prosecution directed by the

    FDA, as well as threatened punitive actions including monetary penalties and/or criminal charges.

    The FDA also falsely notifies the public that the Plaintiff is violating federal law in stating “Federal

    law requires all pet food to be free of pathogens, including Salmonella.” That creates a concrete

    burden on the Plaintiff to either comply and sacrifice their raw product at the altar of pasteurization

    or face enforcement action. Simply put, the FDA has taken final agency action and their argument

    to the contrary does not reflect reality. Plaintiff suffered harm to reputation and monetary damages.

           The FDA compels AAFCO Member states to adopt a zero-tolerance Salmonella standard,

    perform inspections and sampling of the Plaintiff’s pet food, and if there is any evidence of

    Salmonella presence (without quantification, without conducting a Health Hazard Evaluation,




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    without regard to serotype, and without considering even if the bacteria are alive) that is then

    reported to the FDA.      Next, the AAFCO member state typically orders a Notice of Alleged

    Violation and Stop Distribution Order against the Plaintiff (manufacturer/processor), requires

    notice to the Plaintiff’s distributors and retail stores and solicits an admission of guilt and payment

    of fines by the Plaintiff. Many states also place notice on the federal Reportable Food Registry

    (RFR).    Therefore, the mere labeling of the guidance as “Nonbinding” has no effect on whether

    or not that guidance is Final Agency Action reviewable under the APA. See Appalachian Power

    Co. v. EPA, 208 F.3d 1015, 1023 (D.C. Cir. 2000). “If an agency acts as if a document issued at

    headquarters is controlling in the field, if it treats the document in the same manner as it treats a

    legislative rule, if it bases enforcement actions on the policies or interpretations formulated in the

    document . . . then the agency's action is for all practical purposes binding.” Id. at 1021; see also,

    Exhibits B and C hereto. The FDA, both by itself and through AAFCO state regulatory members,

    has decided that there should be a nationwide zero-tolerance standard for Salmonella in pet food

    and use of the AFRP as the nationwide means of enforcement ignoring FD&C Act requirements.

             WHEREFORE, Plaintiff requests this Court GRANT Reconsideration of its Order and

    Determination(s) of January 16, 2020 (Doc. No. 121), allowing Plaintiff to amend its complaint

    consistent herewith and scheduling a hearing on said Complaint pursuant to the Federal Rules of

    Civil Procedure.

    DATED: February 6, 2020                                                Dickson Law Group
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                                   CERTIFICATE OF SERVICE

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